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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

Chief of Staff LLC
                                        Plaintiff,
v.                                                        Case No.: 1:20−cv−03169
                                                          Honorable Gary Feinerman
Hiscox Insurance Company Inc.
                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, May 24, 2021:


        MINUTE entry before the Honorable Gary Feinerman:Plaintiff has filed a notice
of voluntary dismissal [67], the terms of which are set forth therein. Motion to strike [63]
is denied as moot. The status hearing set for 6/24/2021 [66] is stricken. Civil case
closed.Mailed notice.(jlj, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
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